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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                     Chapter 11

     BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                               Debtors.

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON NOVEMBER 19, 2021, AT 10:00 A.M. EASTERN TIME

       This remote hearing will be conducted entirely over Zoom and requires all participants to
         register in advance. Please register by November 19, 2021, at 8:00 a.m. Eastern Time.

                         COURTCALL WILL NOT BE USED FOR THIS HEARING.

                             Please use the following link to register for this hearing:

    https://debuscourts.zoomgov.com/meeting/register/vJItf-CtrDMjE4iXq1Cp7wr6hjYKkTq0PXc

     After registering your appearance by Zoom, you will receive a confirmation email containing
                                information about joining the hearing.

                                               Topic: Boy Scouts of America

                  Time: November 19, 2021, at 10:00 a.m. Eastern Time (US and Canada)




MATTER ADJOURNED:

1.        Letter to the Honorable Chief Judge Laurie Selber Silverstein from James Stang Regarding
          Dispute with Certain Insurers Regarding Responses to the Tort Claimants’ Committee’s
          Request for Production of Documents (D.I. 7099, filed 11/09/21).

          Objection Deadline: November 12, 2021.

          Responses Received: None.


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      The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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     Related Pleadings:

     a)     Letter to the Honorable Chief Judge Laurie Selber Silverstein from Jeffrey
            Schulman Regarding TCC and Certain Insurers’ Discovery (D.I. 7253, filed
            11/16/21).

     Status: This matter is adjourned to a date to be determined.

MATTERS GOING FORWARD:

2.   Motion of Marc J. Bern & Partners LLC to Quash Subpoena to Produce Documents Issued
     to KLS Legal Solutions LLC (D.I. 6380, filed 9/27/21).

     Objection Deadline: None.

     Responses Received:

     a)     Century’s Objection to Marc J. Bern & Partners’ Motion to Quash Subpoena to
            Produce Documents Issued to KLS Legal Solutions, LLC (D.I. 6598, filed
            10/12/21);

     b)     Notice of Joinder of Andrews & Thornton, Attorneys at Law, and ASK LLP to
            Docket Nos. 6380, 6873, and 6945 (D.I. 6956, filed 11/03/21); and

     c)     Zurich Insurers’ Joinder to Century’s Objection to Marc J. Bern & Partners’ Motion
            to Quash Subpoena to Produce Documents Issued to KLS Legal Solutions, LLC
            (D.I. 7158, filed 11/11/21).

     Related Pleadings:

     a)     Letter from William D. Sullivan, Esq. to the Honorable Chief Judge Laurie Selber
            Silverstein regarding Marc J. Bern & Partners, LLC Motion to Quash (D.I. 6651,
            filed 10/18/21); and

     b)     Reply in Support of Motion of Marc J. Bern & Partners LLC to Quash Subpoena
            to Produce Documents Issued to KLS Legal Solutions, LLC (D.I. 6873, filed
            10/29/21).

     Status: The Debtors’ have been informed that the parties to this matter have agreed to
     adjourn this matter to the week of November 22, 2021, subject to the Court’s availability.

3.   Letter to the Honorable Chief Judge Laurie Selber Silverstein Seeking an Order
     Compelling Verus LLC to Comply with a Subpoena (D.I. 6813, filed 10/27/21).

     Objection Deadline: November 3, 2021, at 10:00 a.m. (ET).




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     Responses Received:

     a)     Letter to the Honorable Chief Judge Laurie Selber Silverstein in Response to
            Century’s Letter Seeking an Order to Compel Verus to Produce Privileged
            Information (D.I. 6945, filed 11/03/21);

     b)     Affidavit of Mark Eveland in Opposition to Century’s Request to Compel Verus,
            LLC (D.I. 6946, filed 11/03/21);

     c)     Notice of Joinder of Andrews & Thornton, Attorneys at Law, and ASK LLP to
            Docket Nos. 6380, 6873, and 6945 (D.I. 6956, filed 11/03/21); and

     d)     Zurich Insurers’ Joinder to Century’s Letter to the Honorable Chief Judge Laurie
            Selber Silverstein Seeking an Order Compelling Verus LLC to Comply with a
            Subpoena (D.I. 7157, filed 11/11/21).

     Related Pleadings:

     a)     Declaration of Stamatios Stamoulis in Support of Century’s Request to Compel
            Verus, LLC (D.I. 6814, filed 10/27/21);

     b)     Letter to the Honorable Chief Judge Laurie Selber Silverstein in Reply Further
            Supporting an Order Compelling Verus LLC to Comply with a Subpoena (D.I.
            7052, filed 11/09/21); and

     c)     Declaration of Stamatios Stamoulis in Support of Century’s Motion to Compel
            Production by Verus, LLC to Comply with Century’s Rule 2004 Subpoena (D.I.
            7054, filed 11/09/21).

     Status: The Debtors’ have been informed that the parties to this matter have agreed to
     adjourn this matter to the week of November 22, 2021, subject to the Court’s availability.

4.   Letter to the Honorable Chief Judge Laurie Selber Silverstein Requesting the Court to
     Compel Hartford to Produce Certain Documents Responsive to the Tort Claimants’
     Committee’s Request for Production Directed to Harford (D.I. 7104, filed 11/9/21).

     Objection Deadline: November 12, 2021.

     Responses Received:

     a)     Letter from James P. Ruggeri to the Honorable Chief Judge Laurie Selber
            Silverstein Regarding Response to Letter Brief Submitted by the Official
            Committee of Tort Claimants Seeking to Compel the Production of Documents
            (D.I. 7178, filed 11/12/21).

     Related Pleadings:    None.

     Status: This matter is going forward.

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5.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from Certain Insurers’ to
     Respectfully Request this Court Compel the Boy Scouts of America and Delaware BSA,
     LLC to Comply with Court’ October 25, 2021 Order (D.I. 7198, filed 11/12/21).

     Objection Deadline: November 15, 2021.

     Responses Received: None.

     Related Pleadings:    None.

     Status: This matter is going forward.

6.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from American Zurich
     Insurance Company Regarding Certain Insurers’ Motion to Quash Notices of Deposition
     for Individual Witnesses (D.I. 7205, filed 11/14/21)

     Objection Deadline: November 17, 2021.

     Responses Received:

     a)     Future Claimants’ Representative’s Letter in Opposition to the Insurers’ Motion to
            Quash Notices of Deposition for Individual Witnesses (D.I. 7233, filed 11/15/21).

     Related Pleadings:

     a)     Letter to the Honorable Chief Judge Laurie Selber Silverstein from Jeffrey
            Schulman Regarding TCC and Certain Insurers’ Discovery (D.I. 7253, filed
            11/16/21).

     Status: The Debtors’ have been informed that this matter is not going forward with respect
     to the Tort Claimants’ Committee. This matter is going forward with respect to all other
     parties.

7.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from Mark D. Plevin
     Regarding Certain Insurers’ Motion to Quash and/or Limit Rule 30(b)(6) Deposition
     Notices to Insurers (D.I. 7206, filed 11/14/21)

     Objection Deadline: November 17, 2021.

     Responses Received:

     a)     Future Claimants’ Representative’s Letter in Opposition to the Insurers’ Motion to
            Quash and/or Limit Rule 30(b)(6) Depositions to Insurers (D.I. 7233, filed
            11/15/21).




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     Related Pleadings:

     b)     Joinder of Continental Insurance Company to Certain Insurers’ Motion to Quash
            and/or Limit Rule 30(b)(6) Deposition Notices to Insurers (D.I. 7222, filed
            11/15/21);

     c)     Letter to the Honorable Chief Judge Laurie Selber Silverstein from Tancred
            Schiavoni Regarding Century Indemnity Company and Chubb Group Holdings,
            Inc. to Join the Motion to Quash Notice of Depositions for Individual Witnesses
            filed by American Zurich Insurance Company and Separately Moving to Quash
            Deposition Topics Directed to Century and Chubb (D.I. 7244, filed 11/15/21);

     d)     Letter to the Honorable Chief Judge Laurie Selber Silverstein from Jeffrey
            Schulman Regarding TCC and Certain Insurers’ Discovery (D.I. 7253, filed
            11/16/21).

     Status: The Debtors’ have been informed that this matter is not going forward with respect
     to the Tort Claimants’ Committee. This matter is going forward with respect to all other
     parties.

8.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from Kelly T. Currie
     Regarding Insurers’ Omnibus Motion to Compel Kosnoff Law PLLC, AVA Law Group,
     Napoli Shkolnik, PLLC, Krause & Kinsman Law Firm, Andrews & Thornton, Attorneys
     at Law, and ASK LLP to Respond to Document Requests and Interrogatories (D.I. 7239,
     filed 11/15/21).

     Objection Deadline: November 18, 2021

     Responses Received: None.

     Related Pleadings:    None.

     Status: This matter is going forward.

9.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from Kelly T. Currie
     Regarding Certain Insurers’ Omnibus Motion to Compel Compliance with the Subpoena
     to Produce Responsive Documents Served on Slater Slater Schulman LLP (D.I. 7240, filed
     11/15/21).

     Objection Deadline: November 18, 2021

     Responses Received: None.

     Related Pleadings:    None.

     Status: This matter is going forward.




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10.   Letter to the Honorable Chief Judge Laurie Selber Silverstein form K. Currie Regarding
      Insurers Motion to Compel Compliance with the Subpoena to Produce Responsive
      Documents Served on Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. (D.I. 7241,
      filed 11/15/21).

      Objection Deadline: November 18, 2021

      Responses Received: None.

      Related Pleadings:    None.

      Status: This matter is going forward.

11.   Letter to the Honorable Chief Judge Laurie Selber Silverstein from Jeffrey Schulman
      Regarding TCC and Certain Insurers’ Discovery (D.I. 7253, filed 11/16/21).

      Objection Deadline: November 19, 2021

      Responses Received: None.

      Related Pleadings:    None.

      Status: This matter is going forward.

 Dated: November 17, 2021                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        Wilmington, Delaware
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                                              – and –

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                         ATTORNEYS FOR THE DEBTORS AND
                         DEBTORS IN POSSESSION




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